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             EXHIBIT 3
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                                                 Metadata
Begin Bates                GOOG-AT-MDL-B-001362565
End Bates                  GOOG-AT-MDL-B-001362565
Custodian
Extension                  eml
File Name
Author
Subject                    MLex: State AGs committed to investigating Big Tech companies like Google, Facebook
Email Subject              MLex: State AGs committed to investigating Big Tech companies like Google, Facebook
Master Date                6/12/2019
OS Creation Date/Time
OS Saved Date/Time
Date Sent                  6/12/2019
Time Sent                  6:23:00 PM
Date Received
Time Received
Email Datetime Received
Company                    Alphabet, Inc.
From
To
Cc
Bcc
Volume Name                PROD070-002
CSV_Confidentiality        HIGHLY CONFIDENTIAL
CSV_Drive Collaborators
CSV_Drive Viewers
CSV_Other Beg Bates
CSV_Last Author
CSV_Organization
CSV_Produced In
CSV_Search Values
CSV_Spec No
CSV_Gmail Thread Level 1
CSV DOJ Edoc Properties    Email
CSV Redacted
CSV References
CSV Folder Label
CSV Original Path
CSV Linked AttachmentID
CSV Linked ParentID
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